      Case 18-62196                Doc 10           Filed 11/07/18 Entered 11/08/18 01:03:36                           Desc Imaged
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Information to identify the case:
Debtor 1              Mark Andrew Easterling Sr.                                        Social Security number or ITIN            xxx−xx−5999
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Crystal Dickson Easterling                                        Social Security number or ITIN            xxx−xx−1779
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Virginia
                                                                                        Date case filed for chapter 7 11/5/18
Case number:          18−62196


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                 12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Mark Andrew Easterling Sr.                          Crystal Dickson Easterling

2.      All other names used in the
        last 8 years

3.     Address                               8224 Goose Creek Valley Road                           8224 Goose Creek Valley Road
                                             Montvale, VA 24122                                     Montvale, VA 24122

4.     Debtor's attorney                     Linda Gale Willis                                      Contact phone (540) 587−5548
                                             307 West Main St.
       Name and address                      Bedford, VA 24523

5.     Bankruptcy trustee                    Andrew S Goldstein(68)                                 Contact phone 540−343−9800
                                             PO Box 404
       Name and address                      Roanoke, VA 24003−0404
                                                                                                               For more information, see page 2 >
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Debtor Mark Andrew Easterling Sr. and Crystal Dickson Easterling                                                            Case number 18−62196


6. Bankruptcy clerk's office                      1101 Court St., Room 166                                    Hours open 8 a.m. − 4:30 p.m.
                                                  Lynchburg, VA 24504
    Documents in this case may be filed at this                                                               Contact phone (434) 845−0317
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 11/5/18


7. Meeting of creditors                           December 11, 2018 at 11:30 AM                               Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              cr mtg, LYN, US Courthouse, Rm
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            210, 1101 Court St., Lynchburg,
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     VA 24504

                                                          *** Valid photo identification required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 2/11/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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                                               United States Bankruptcy Court
                                               Western District of Virginia
In re:                                                                                                     Case No. 18-62196-rbc
Mark Andrew Easterling, Sr.                                                                                Chapter 7
Crystal Dickson Easterling
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0423-6                  User: admin                        Page 1 of 2                          Date Rcvd: Nov 05, 2018
                                      Form ID: 309A                      Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 07, 2018.
db/jdb         +Mark Andrew Easterling, Sr.,     Crystal Dickson Easterling,    8224 Goose Creek Valley Road,
                 Montvale, VA 24122-2715
tr              Andrew S Goldstein(68),    PO Box 404,    Roanoke, VA 24003-0404
4669293        +Bedford County Fire and Rescue,     P.O. Box 863,    Lewisville, NC 27023-0863
4669294        +Bedford Emerency Services,     122 East Main St,    Bedford, VA 24523-2000
4669302        +CMG Bedford,    P.O. Box 14099,    Belfast, ME 04915-4034
4669301        +CMG Bedford,    2010 Atherhold Rd.,    Lynchburg, VA 24501-1106
4669295        +Carilion Cl,    P.O. Box 13966,    Roanoke, VA 24038-3966
4669296        +Carilion Radiology Dept,    1906 Belleview Ave SE,     Roanoke, VA 24014-1838
4669297        +Carilion Roanoke Memorial,     1906 Belleview Ave,    Roanoke, VA 24014-1838
4669299         CashNetUSA,    P.O. Box 643990,    Cincinnati, IN 46264-3990
4669298        +Cashnet,    175 West Jackson Blvd,    Dallas, TX 75320-0001
4669300        +Centra,   PO BOX 79940,    Baltimore, MD 21279-0940
4669305        +Grace Care, LLC,    P.O. Box 1570,    Prince Frederick, MD 20678-1570
4669306        +Interim Health Care,    1013 E Main St,    Salem, VA 24153-4419
4669307        +Jormandy, LLC,    6363 Center Drive, Bldg 6,Suite 203,     Norfolk, VA 23502-4103
4669308        +Lewis Gale Physicians,    P.O. Box 668,    Brentwood, TN 37024-0668
4669310        +LewisGale Physicians,    P.O. Box 668,    Brentwood, TN 37024-0668
4669312        +Mr. Cooper,    8950 Cypress Waters Boulevard,     Coppell, TX 75019-4620
4669314        +NPAS, Inc.,    P.O. Box 99400,    Louisville, KY 40269-0400
4669313        +Nationstar Mortgage LLC,    8950 Cypress Waters Blvd.,     Coppell, TX 75019-4620
4669317         Radiology Associates of Roanoke,     P.O. Box 12668,    Roanoke, VA 24027-2668
4669318        +Roanoke General Surgery CC,     3 Riverside Circle,    Roanoke, VA 24016-4955
4669319        +SCA Credit Services, Inc.,     1502 Williamson Road NE,    Roanoke, VA 24012-5100
4669320        +Solstace Lab Partners,    P.O. Box 740777,    Cincinnati, OH 45274-0777
4669322        +Stericycle Inc,    28161 Keith Drive,    Lake Forest, IL 60045-4528
4669323        +Valley Anesthesia,    P.O. Box 13888,    Roanoke, VA 24038-3888
4669324        +Velocity Care,    46 Wesley Road,    Daleville, VA 24083-3082

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: lgwatty@verizon.net Nov 05 2018 22:27:54      Linda Gale Willis,
                 307 West Main St.,   Bedford, VA 24523
ust            +E-mail/Text: ustpregion04.rn.ecf@usdoj.gov Nov 05 2018 22:28:10       USTrustee,
                 Office of the United States Trustee,    210 First Street, Suite 505,    Roanoke, VA 24011-1620
4669303        +EDI: CCS.COM Nov 06 2018 03:23:00      Creditors Collection Service,    725 Canton Street,
                 Norwood, MA 02062-2679
4669304        +Fax: 864-336-7400 Nov 05 2018 22:58:09      Express Check Advance,    586 Blue Ridge Avenue,
                 Bedford, VA 24523-2604
4669309        +EDI: HCA2.COM Nov 06 2018 03:28:00      LewisGale Medical Center LLC,    1900 Electric Road,
                 Salem, VA 24153-7494
4669311        +EDI: PARALONMEDCREDT Nov 06 2018 03:28:00      Medicredit, INC,    P.O. Box 1629,
                 Maryland Heights, MO 63043-0629
4669316         EDI: PRA.COM Nov 06 2018 03:23:00      Portfolio Recovery Associates, LLC,
                 Riverside Commerce Center,   120 Corporate Blvd,    Norfolk, VA 23502
4669321        +Fax: 336-217-7467 Nov 05 2018 22:37:56      Solstas Lab Partners (SLP),    PO Box 35907,
                 Greensboro, NC 27425-5907
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
4669315*         +NPAS, Inc.,   P.O. Box 99400,   Louisville, KY 40269-0400
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 07, 2018                                             Signature: /s/Joseph Speetjens
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                             Form ID: 309A               Total Noticed: 35

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 5, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
